EXHIBIT B
                                                                                                                           Filed
                                                                                                            8/25/2020 4:15 PM
                                                                                                               Anne Lorentzen
                                                                                                                  District Clerk
                                                                                                         Nueces County, Texas

                                                        2020DCV-3095-B
                                             CAUSE NO. ________________

             MARY KAY MCGUFFIN                               §              IN THE DISTRICT COURT OF
                                                             §
                  Plaintiff,                                 §
                                                             §
             v.                                              §                 NUECES COUNTY, TEXAS
                                                             §
             CINCH ENERGY SERVICES, LLC,                     §
             CINCH WIRELINE SERVICES, LLC,                   §
             AND FRANK THOMAS SHUMATE, JR.                   §
                Defendants.                                  §                  ____ JUDICIAL DISTRICT

                      PLAINTIFF MARY KAY MCGUFFIN’S ORIGINAL PETITION, REQUEST
                      FOR ACCOUNTING, JURY DEMAND AND REQUEST FOR DISCLOSURES

                           Plaintiff Mary Kay McGuffin (“Plaintiff” or “McGuffin”) files this Original

                  Petition, Request for Accounting, Jury Demand, and Request for Disclosures against Cinch

                  Energy Services, LLC, Cinch Wireline Services, LLC and Frank Thomas Shumate, Jr.

                  (collectively as “Defendants”) and would respectfully show the Court the following:

                                                         I. PARTIES

                           1.    Plaintiff Mary Kay McGuffin is an individual residing in Colorado County,

                  Texas.

                           2.    Defendant Cinch Energy Services, LLC is a limited liability company with

                  its principal business address of P.O. Box 707, Ganado, Texas and may be served by

                  serving its registered agent Mark Lopez at 1102 S. Second, Ganado, TX 77962.

                           3.    Defendant Cinch Wireline Services, LLC is a limited liability company with

                  its principal business located at 5821 Agnes St., Corpus Christi, TX 78406 and may be

                  served by serving its Registered Agent, David S. Gibson II, 3833 S. Staples Street., Ste.

                  S217, Corpus Christi, TX 78411.




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                        4.      Defendant Frank Thomas Shumate. Jr. is an individual and may be served

                at his place of abode at 290 N. Washington Dr., Sarasota, FL 34236.

                                          II.         JURISDICTION AND VENUE

                        5.      This Court has jurisdiction over this matter, as the damages in controversy

                are within the jurisdictional limits of this Court.

                        6.      Pursuant to Texas Rule of Civil Procedure 47, Plaintiff is seeking monetary

                relief over $1,000,000.

                        7.      Venue is proper in Nueces County because that is the county of Defendant

                Shumate’s residence at the time the causes of action accrued. Venue is also proper in

                Nueces County because all or a substantial part of the events or omissions giving rise to

                the claims occurred in Nueces County.

                                                    III.     DISCOVERY

                        8.      In accordance with Texas Rules of Civil Procedure, discovery in this case

                is intended to be conducted under Level 3.

                                                       IV.     FACTS

                        9.      In 2014, McGuffin formed Cinch Wireline Services, LLC with Frank

                Thomas Shumate (“Shumate”). McGuffin and Cinch Energy Services, LLC, were the

                members of Cinch Wireline Services, LLC. Cinch Energy Services, LLC is a limited

                liability company owned and controlled by Shumate. McGuffin was responsible for the

                day-to-day operations of Cinch Wireline Services, LLC and business generation, while

                Shumate (through Cinch Energy Services, LLC) provided the financial capital. Cinch

                Wireline Services, LLC is located in Corpus Christi, Texas.




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                        11.       In 2016, McGuffin came home to be surprised by a strange person jumping

                in her company vehicle. The person stated that he was there to take back the company

                vehicle. That is how McGuffin learned that she was purportedly being fired from Cinch

                Wireline Services. She never received a formal notice or other communication regarding

                her termination.

                        12.       Shumate placed someone else in charge of the company, and it has

                continued to operate to this day as a successful oil and gas services company. McGuffin

                still owns her membership interest, yet she has been shut out of the company, with no

                distributions and no accounting provided to her.

                                                     V. CAUSES OF ACTION

                A.      Breach of Contract

                            13.   McGuffin incorporates the preceding paragraphs by reference as if fully set

                forth herein.

                            14.   Defendants breached their agreements with McGuffin, causing McGuffin’s

                injuries.

                B.      Unjust Enrichment

                            15.   McGuffin incorporates the preceding paragraphs by reference as if fully set

                forth herein.

                            16.   McGuffin is entitled to recover under the theory of unjust enrichment

                because Defendants have obtained benefits from McGuffin by fraud, duress, or taking

                undue advantage, or the contemplated agreements are unenforceable, impossible, not fully

                performed, thwarted by mutual mistake, or void for other legal reasons.



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                C.      Money Had and Received

                        17.     McGuffin incorporates the preceding paragraphs by reference as if fully set

                forth herein.

                        18.     Defendants hold money that belongs to McGuffin in equity and good

                conscience.

                D.      Breach of Fiduciary Duty

                        19.     McGuffin incorporates the preceding paragraphs by reference as if fully set

                forth herein.

                        20.     Defendants owe fiduciary duties to Cinch Wireline Services, LLC.

                Defendants breached their fiduciary duties to Cinch Wireline Services, LLC by having

                Cinch Wireline Services, LLC make improper distributions and / or paying for personal

                items. Defendants’ breaches resulted in injuries to Cinch Wireline Services, LLC or

                benefits to the Defendants. Defendants put their interests ahead of Cinch Wireline Services,

                LLC. McGuffin is entitled to recover her actual damages for these breaches of fiduciary

                duties as well as equitable relief including accounting and disgorgement.

                 E.     Demand for Accounting

                        21.     McGuffin incorporates the preceding paragraphs by reference as if fully set

                forth herein.

                        22.     The facts and accounts presented are so complex that relief may not be

                provided for at law. There is a close fiduciary relationship between the parties and

                respondents have access to the information necessary to provide an accounting.




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                        23.    Defendants hold, possess, or manage funds and will continue to hold,

                possess, or manage future funds, from revenues to which Plaintiff is entitled in whole or in

                part.

                        24.    Plaintiff demands an accounting from Cinch Wireline Services, LLC.

                        25.    Plaintiff is entitled to an accounting from Defendants to determine the actual

                amounts due and owing to Plaintiff.


                                                       VI.   DAMAGES

                        26.    Defendants’ acts have been the producing and proximate causes of

                Plaintiff’s actual damages in excess of the minimum jurisdictional limits of this court.

                Plaintiff is entitled to both general and special damages.

                        27.    Defendants’ conduct was committed knowingly and intentionally.

                Plaintiff’s   injuries resulted from Defendants’ fraud, malice or gross negligence.

                Accordingly, Defendants are liable for exemplary damages.

                                                VII.    ATTORNEY’S FEES

                        28.    Plaintiff is entitled to reasonable and necessary attorneys’ fees pursuant to

                Chapter 38 of the Tex. Civ. Prac. & Rem. Code.

                                   VIII. PERSONAL AND DERIVATIVE CLAIMS

                        29.    McGuffin brings her claims personally and derivatively as authorized by

                Tex. Bus. Org. Code §§ 101.451 – 101.463.

                                          IX.     CONDITIONS PRECEDENT

                        30.    All conditions precedent to bringing the above causes of action have been

                met or occurred.



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                                        X.      ALTERNATIVE PLEADINGS

                        31.    The foregoing facts and theories are pled cumulatively and alternatively,

                with no election or waiver of rights or remedies.


                                        XI.     REQUEST FOR DISCLOSURE

                        32.    Under the Texas Rules of Civil Procedure 194, Plaintiff hereby requests that

                Defendants disclose, within 50 (fifty) days of service of this request, the information or

                material described in Texas Rule of Civil Procedure 194.2.


                                                XII.     TRIAL BY JURY

                        33.    Plaintiff requests trial by jury and submits appropriate jury fee.

                                                       XIII. PRAYER

                        34.    Plaintiff prays that Defendants be cited to appear, and that Plaintiff have

                judgment against Defendants for all relief requested and for such other and further relief,

                general and special, at law or in equity, to which Plaintiff is entitled, including but not

                limited to:

                        a.     All the actual damages and exemplary damages caused by the wrongful
                               conduct complained of herein;
                        b.     Equitable relief including, but not limited to, an accounting and
                               disgorgement;
                        c.     Reasonable and necessary attorney’s fees;
                        d.     Pre- and post-judgment interest;
                        e.     Costs of suit; and
                        f.     Other such relief at law and equity for which Plaintiffs may be justly
                               entitled.




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                        Respectfully submitted,

                        BUTCH BOYD LAW FIRM




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